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                                UNITED STATES DISTRICT COURT

                                        DISTRICT Of OREGON



MARI.A D. PROUFLIS                                                   Case No.: 3:22—cv—00973—SI
     Plaintiff,

V.


OREGON HEALTH AND SCIENCE
UNIVERSITY
     Defendant.



                             Fed. R. Civ. P. 26(aWl) Discovery Agreement

      Pursuant to LR 26—2, I state that the parties who have been served and who are not in default
have agreed to forgo the disclosures required by Fed. R. Civ. P. 26(a)(l).

DATED:


                       Signature:

           Name and OSB ID:         Brent H. Smith, O$B No. 065971

              E—mail Address:       brent@baumsmith.com

                     Firm Name:     BaUm Smith, LLC

             Mailing Address:       $08 Adams Avenue

                  City, State, Zip: La Grande, OR 97850

         Parties Represented:       Plaintiff, Maria Prouflis
